IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
LYNCHBURG DIVISION

JoHN DoE,
Piainaff,

V. Case No.: 6:14 ~ cv00052 - NKM

WASHINGTON AND LEE UNIVERSITY,
Defendant. '

NOTICE ()F FILING
Defendant, Washington & Lee University, by counsel, does-hereby give notice of filing
Exhibits A through F to the Declaration of Lauren Kozal<, Whioh declaration Was Exhibit l to
Defendant'S Melnorandum of LaW in Opposition to Plaintift‘s Motion for Preliminary lnjunction
(Docket #21). The exhibits Were inadvertently omitted at the time of the original filing
Respectfully submitted,

WASHINGTON AND LEE UNIVERSITY
By Counsel

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CERTIFICATE
l hereby certify that on this 18th day of February, 2015, l electronically filed the foregoing
Notice of` Filing With the Clerl< of the Court using the CM/ECF System Which lWill send

notification of such filing to the following:

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